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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS


In re EPIPEN (EPINEPHRINE INJECTION,       Civil Action No. 2:17-md-02785-DDC-TJJ
USP) MARKETING, SALES PRACTICES            (MDL No: 2785)
AND ANTITRUST LITIGATION


This Document Relates To:

      CONSUMER CLASS CASES.




   CLASS PLAINTIFFS’ MOTION TO ALLOW LIVE TRIAL TESTIMONY VIA
 CONTEMPORANEOUS TRANSMISSION FOR HEATHER BRESCH AND LLOYD
SANDERS, AND FOR TRIAL DEPOSITIONS OF ROBERT COURY, BRUCE FOSTER,
                  RON GRAYBILL, AND JILL ONDOS;

                       REQUEST FOR EXPEDITED BRIEFING
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        In an important multidistrict litigation (“MDL”) with a certified class of millions of

defrauded class members across the United States, Defendants should not be able to seek tactical

advantage by refusing to attend trial or bring their current or former employees for live testimony

during Class Plaintiffs’ case-in-chief. Class Plaintiffs intend to present their case (on behalf of

millions of people and third-party payors around the country) in part through evidence from

Mylan’s current and former employees. Class Plaintiffs seek live testimony via contemporaneous

transmission for two critical witnesses (Heather Bresch and Lloyd Sanders) and trial depositions

for four additional instrumental witnesses (Robert Coury, Bruce Foster, Ron Graybill, and Jill

Ondos) to ensure the jury has the most useful, relevant, and streamlined testimony in Class

Plaintiffs’ case-in-chief.

        The most critical witnesses are Defendant Heather Bresch and Lloyd Sanders. Ms. Bresch,

a named defendant, is obviously not within Class Plaintiffs’ control, and an order for remote video

testimony is necessary to ensure the jury can hear her testimony live in Class Plaintiffs’ case-in-

chief. Mr. Sanders remains under Mylan’s control as high-level employees. Authorizing such

testimony is justified under Federal Rules of Civil Procedure 43 and 45:

           Live remote testimony is superior for jury credibility determinations and
            comprehension compared to canned deposition designations.

           Ms. Bresch and Mr. Sanders were intimately involved in the EpiPen Pricing Schemes
            and are critical witnesses to Class Plaintiffs’ claims in this case.

           The jury will be considering testimony about Mylan’s conduct across the United States
            in this MDL trial, and its determination will affect millions of EpiPen purchasers
            throughout the United States.

           The ever-changing and unprecedented nature of the coronavirus pandemic requires all
            parties, witnesses, and the Court to work with more flexibility. At the same time, it has
            caused remote video technology and familiarity with the technology to improve
            dramatically (rendering prior hesitations about remote testimony outdated).

           Adequate safeguards can be placed on remote testimony including through orders like
            Class Plaintiffs’ suggested protocols.


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And as set out in the text and commentary to the Federal Rules, this Court has the discretion to

allow remote testimony and compel attendance at remote locations through trial subpoenas.

       As this Court recognized in permitting trial depositions as a means of presenting testimony,

trial depositions are a common manner for presenting trial testimony (and are distinct under federal

common law from discovery depositions). For the four witnesses identified, trial depositions will

ensure relevant testimony from these critical witnesses who are outside the subpoena power of the

Court during Class Plaintiffs’ case-in-chief. If the Court declines to allow contemporaneously

transmitted testimony for Bresch or Sanders, Class Plaintiffs also alternatively request trial

depositions of these witnesses. 1

                                           ARGUMENT

       I.      There are “compelling circumstances” to justify the remote,
               contemporaneous testimony of Defendant Heather Bresch and
               Mylan’s Chief Operating Officer Lloyd Sanders.

       The factors outlined by Judge Fallon in In re Vioxx Prod. Liab. Litig., 439 F. Supp. 2d 640,

643 (E.D. La. 2006), which are discussed in turn below, combine to support an order permitting

contemporaneous transmission. As a named defendant, Ms. Bresch is a hostile witness and is

crucial to Class Plaintiffs’ case. Mr. Sanders was instrumental in the decision-making around the

EpiPen Pricing Scheme for Mylan. The only way to guarantee the jury will hear live testimony

from these two on the subjects critical to the elements of the class claims in Class Plaintiffs’ case-

in-chief is with a trial subpoena and remote video testimony. 2


1
   In the attached Exhibit A, Class Plaintiffs provide the Court with a chart also submitted as a
proposed order to quickly identify the granted relief by witness.
2
  Mylan’s suggestion that it expects Ms. Bresch to appear live in its case-in-chief does not moot
this motion. See Dkt. No. 2354. As an initial matter, as to Mr. Sanders, Mylan only suggests that
it may bring him live. Second, Mylan may narrow that testimony depending on what Class
Plaintiffs can elicit in their case—or decide not to bring these witnesses. Dkt. No. 2354
(“reserv[ing] all rights to . . . withdraw[] . . . witnesses”). And for those witnesses whom they do
call live, Class Plaintiffs will be restricted to cross examination within the scope of the direct

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               A.     Legal Standard

       Under the Federal Rules of Civil Procedure, this Court has the authority to issue trial

subpoenas to individuals anywhere in the United States and have them testify at trial by

contemporaneous transmission. Fed. R. Civ. P. 43 & 45. Contemporaneous transmission of

testimony in open court is available when a party shows it is “for good cause in compelling

circumstances and with appropriate safeguards.” Fed. R. Civ. P. 43(a). Judge Fallon—one of the

deans of the federal MDL process—provided factors to consider in weighing whether “compelling

circumstances” exist in exactly this type of situation: an MDL trial where the plaintiffs seek live

remote testimony of defendants’ critical current or former employee. Vioxx, 439 F. Supp. 2d at

643. Federal courts consider:

          the apparent tactical advantage, as opposed to any real inconvenience to the witness,
           that the defendant is seeking by not producing the witness voluntarily;

          the control exerted over the witness by the defendant;

          the complex, multi-party, multi-state nature of the litigation;

          the flexibility needed to manage a complex multi-district litigation; and,

          the lack of any true prejudice to the defendant.

As Wright & Miller have observed, the factors enumerated by Judge Fallon “offer[] an interesting

and helpful approach to Rule 43(a) by enumerating a series of issues that it would consider when

deciding whether compelling circumstances existed to allow for contemporaneous transmission.”

9A CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2414

Preference for Oral Testimony (3d ed. 1998, Oct. 2020 update).

       “When an order under Rule 43(a) authorizes testimony from a remote location, the witness

can be commanded to testify from any place described in Rule 45(c)(1).” Fed. R. Civ. P. 45


examination. Finally, evidence only elicited in Mylan’s case will not be available to meet Class
Plaintiff’s burden on a motion for directed verdict.


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advisory committee’s note, 2013 amendment (emphasis added); see also 9A CHARLES ALAN

WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 2461 Subpoena for Hearing

or Trial (3d ed. 1998, Oct. 2020 update) (same). And Rule 45(c)(1) allows a subpoena to command

a person to appear anywhere within 100 miles of where the person resides, is employed, or

regularly transactions business in person.

       Courts have routinely confirmed that Rules 43 and 45 must be read together—and that a

subpoena under Rule 45 can be used to secure remote contemporaneously transmitted testimony

if the location for the video testimony is within 100 miles of the witness’s location. See In re Actos

(Pioglitazone) Prod. Liab. Litig., No. 12-CV-00064, 2014 WL 107153, at *8-10 (W.D. La. Jan. 8,

2014) (concluding that “the two Rules embrace and address the concept of appearance at ‘trial’ to

include contemporaneous live transmission from another location at the location of the Court” and

the “subpoena power of Rule 45 of the Federal Rules of Civil Procedure is merely employed to

facilitate yet another, now permitted, trial procedure and method of appearance”); In re Xarelto

(Rivaroxaban) Prod. Liab. Litig., No. MDL 2592, 2017 WL 2311719, at *4 (E.D. La. May 26,

2017) (noting that a subpoena for contemporaneous video testimony falls within Rule 45(a) when

the witness is asked to testify at a location within 100 miles of his home or place of business). 3

This reading is also logical. As the commentary sets out, the committee contemplated using

subpoenas to ensure Rule 43 remote testimony.

               B.      Mylan may seek a tactical advantage by choosing to not have
                       Ms. Bresch or Mr. Sanders appear live in Class Plaintiffs’ case-
                       in-chief.

       To assess compelling circumstances, the court looks to the “tactical advantage” that

defendants might seek to gain by refusing to produce a witness, and “the control exerted over the


3
  Indeed, as noted by Judge Fallon of the Eastern District of Louisiana at the recent Duke MDL
class action conference, remote video testimony is now commonplace in federal MDLs.


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witness by the defendant.” Vioxx, 439 F. Supp. 2d at 643. Both factors favor the requested order.

The parties’ summary judgment briefing demonstrates the tactical advantage Mylan may seek to

gain by refusing to have Ms. Bresch or Mr. Sanders testify live at trial in Class Plaintiffs’ case-in-

chief.

         Defendants Mylan and Bresch also are in complete control of whether the jury hears from

Ms. Bresch and Mr. Sanders live during Class Plaintiffs’ case-in-chief. In setting forth his factors,

Judge Fallon distinguished between situations in which the plaintiff seeks to avoid in-person

testimony (for herself or witnesses under her control) and cases in which the plaintiffs seek live

testimony from witnesses controlled by the other party. For obvious reasons, this factor weighs

more strongly for the requesting party if the opposing party controls the witnesses. Vioxx, 439 F.

Supp. 2d at 643 (noting that because the employee “possesses information highly-relevant to the

plaintiff[s’] claims,” the defendants likely prefer “to eliminate any unpredictability and limit []

trial testimony to [] ‘canned’ deposition testimony-a purely tactical reason”). 4 Ms. Bresch, as a

named defendant, is completely in control of whether she appears in Kansas for trial or not. As to

Mr. Sanders, Mylan retains significant control over these high-level employees. Remote trial

testimony of these two Mylan executives allows the Court to ensure jurors hear from the most

critical witnesses during Class Plaintiffs’ case in an MDL trial affecting a class of millions

nationwide.




4
  The requesting party’s lack of control of the witnesses also makes this MDL situation
distinguishable from other Rule 43 orders in this Circuit. See, e.g., Gil-Leyva v. Leslie, 780 F.
App’x 580 (10th Cir. 2019) (pro se plaintiff requested to testify remotely at an evidentiary
hearing); Eller v. Trans Union, LLC, 739 F.3d 467, 477 (10th Cir. 2013) (plaintiff requesting
remote testimony of his former attorneys due to distance and scheduling conflicts); Hale v. Vietti,
No. 16-4183-DDC-KGG, 2019 WL 2869441, at *1 (D. Kan. July 3, 2019) (plaintiff requesting
remote testimony for three or fewer of his witnesses for financial reasons).


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                        1.      Ms. Bresch

        Ms. Bresch, Mylan’s President and CEO during the relevant time period, is a lynchpin

figure in the fraud at the heart of this case. She was paid tens of millions of dollars for orchestrating

the EpiPen Pricing Scheme, and she personally communicated in furtherance of the schemes to

defraud. ECF No. 2190-1, Class Pls.’ Summary Judgment Opp. (“MSJ Opp.”) 119. Ms. Bresch

was the moving force behind the EpiPen Pricing Scheme and she personally committed several

RICO predicate acts, including:

           Ordered the removal of the single EpiPen, received numerous briefings on the status of
            Project X2, and closely monitored Pfizer’s involvement in the scheme to ensure it was
            completed—all utilizing the wires to do so.

           Stated the false medical rationale in, reviewed, and approved the 2-Pak press release,
            which was disseminated over the wires.

           Made false and misleading statements to the public about EpiPen price increases.

           Lied to Congress under oath in September 2016, corrupting the proceeding.

           Approved the improper “pay-for-delay” generic settlements, personally negotiated the
            illegal agreements with Teva’s Marth, and personally made false and misleading
            statements to the public about those settlements in press releases—all over the wires.

Id. at 118-0. Ms. Bresch’s extensive control and involvement in all parts of the EpiPen Pricing

Scheme demonstrate Defendants could try to gain a tactical advantage by making Ms. Bresch

“unavailable” during Class Plaintiffs’ case-in-chief.

        Ms. Bresch is a named defendant and, as such, is in complete control of whether she

appears to testify. In her capacity as Mylan’s President and CEO during the relevant time, other

federal courts have recognized that parties retain “significant control” of employees like Ms.

Bresch. Vioxx, 439 F. Supp. 2d at 643 (upper-level executive); Mullins v. Ethicon, Inc., No. 2:12-

CV-02952, 2015 WL 8275744, at *2 (S.D.W. Va. Dec. 7, 2015) (“relatively important and

knowledgeable employees”).




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                       2.      Mr. Sanders

       Mr. Sanders was Dey’s Chief Operating Officer during the relevant time. He ensured that

Bruce Foster’s idea of eliminating the single pack from the market—and thereby doubling certain

revenue—occurred by tasking Ivona Kopanja to work with Mr. Foster and manage the project to

make sure it gained momentum. MSJ Opp. 20. Mr. Sanders served as an intermediary between

Ms. Bresch and the rest of the Project X2 team. MSJ Opp. 22, 25, 28. Mr. Sanders was told by

multiple Mylan employees that the guidelines did not directly support eliminating the single

EpiPen option. Id. Mr. Sanders also took charge of coordinating the elimination of the single

EpiPen with Pfizer. Id. at 25. When the elimination of the single was complete, it was Mr. Sanders

who encouraged Ms. Bresch to then quickly increase the EpiPen price because Project X2 had

been pulled off without backlash or pushback. Id. at 28, 98.

       As a high-level executive, Mylan retains significant control of Mr. Sanders. Vioxx, 439 F.

Supp. 2d at 643 (upper-level executive); Mullins, 2015 WL 8275744, at *2 (“relatively important

and knowledgeable employees”).

               C.      Remote video testimony is necessary here given the complexity
                       of the case and the flexibility required to manage it.

       The next two factors—“the complex, multi-party, multi-state nature of the litigation” and

the flexibility needed to manage such litigation—also favor permitting contemporaneous

transmission of testimony. Vioxx, 439 F. Supp. 2d at 643. The effects of Mylan’s racketeering

activity and antitrust violations reach into every one of the fifty states—and so too does this Court’s

power to compel Mylan’s current and former employees to testify concerning Mylan’s illicit

behavior for the jury. Because of the differences between MDL and non-MDL civil cases, “the

challenge for the Courts and parties engaged within a multidistrict litigation proceeding is to

fashion the most efficient, judiciously sound and fair manner to perform the tasks assigned by

Congress.” In re Actos (Pioglitazone) Prod. Liab. Litig., 2014 WL 107153, at *2. If Mylan will

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not bring them live and in-person to trial in Class Plaintiffs’ case-in-chief, the jury will be in the

best position to evaluate the testimony of Ms. Bresch and Mr. Sanders if Class Plaintiffs are

permitted to compel their trial testimony via remote live video.

        In this certified class action in multidistrict litigation, the parties have agreed to have the

Class claims tried in a single forum, the District of Kansas. Cf. In re DePuy Orthopaedics, Inc.

Pinnacle Hip Implant Prod. Liab. Litig., No. 3:11-MD-2244-K, 2016 WL 9776572, at *2 (N.D.

Tex. Sept. 20, 2016) (“In fact, had this MDL been consolidated in another district, the witnesses

at issue may have been within subpoena range.”). The RICO schemes and antitrust violations did

not occur only in one location where a central trial could have gathered all witnesses. Depositions

of Defendants’ current and former employees on Class Plaintiffs’ witness list occurred in nine

different states (including Washington D.C.), to say nothing of the named and unnamed plaintiffs

across the country. The case is also complex as to the legal and factual claims. The jury will be

asked to consider the billions of dollars in damages Mylan caused throughout the United States.

The complex nature of this case as well as its impact on millions of Class members nationwide

weighs in favor of allowing contemporaneous transmission of the testimony of Ms. Bresch and

Mr. Sanders because Mylan has not agreed to make these witnesses available live during Class

Plaintiffs’ case-in-chief.

        Rule 43 testimony has become “quite commonplace” in the multidistrict litigation context

(even if it is less common for non-MDL civil cases). In re Actos, 2014 WL 107153, at *2; see also

Vioxx, 439 F. Supp. 2d at 643; In re DePuy Orthopaedics, Inc. Pinnacle Hip Implant Prod. Liab.

Litig., 2016 WL 9776572, at *2; In re Xarelto, 2017 WL 2311719, at *4; Mullins, 2015 WL

8275744, at *2; accord MANUAL FOR COMPLEX LITIG. at 2 (4th ed. 2020) (“Practices and principles

that served in the past may not be adequate, their adaptation may be difficult and controversial,

and novel and innovative ways may have to be found.”). Indeed, while those product liability cases


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may have affected thousands, the cases consolidated here through the MDL now affect millions

because of class certification. And unlike in the bellwether context, individual class members will

not have another shot at their own trial elsewhere. This trial is it—and it alone will resolve all their

claims.

          Authorizing remote live video testimony of Ms. Bresch and Mr. Sanders is critical to

provide the jury with the best possible testimony in this complex case. Mylan has much to gain

tactically by denying Class Plaintiffs in-person testimony of these key witnesses. Because Ms.

Bresch and Mr. Sanders “possess[] information highly-relevant to the plaintiff[s’] claims,” Mylan

likely prefers Class Plaintiffs having to use either “canned” deposition designations or no

appearance at all in Class Plaintiffs’ case. Vioxx, 439 F. Supp. 2d at 643. Canned deposition

designations at the start of the case are no substitute for live testimony focused on the core issues

being tried. See In re Xarelto, 2017 WL 2311719, at *4. And because Mr. Sanders was never

deposed, the jury would be deprived of any testimony from him on events he was intimately

involved in if this Court denies Class Plaintiffs’ motion.

          As Judge Fallon emphasized, contemporaneous transmission avoids the short-comings of

deposition testimony while allowing for the benefits of in-person trial testimony including

allowing “the jury to see the live witness along with ‘his hesitations, his doubts, his variations of

language, his confidence or precipitancy, his calmness or consideration.’” Vioxx, 439 F. Supp. 2d

at 644 (quoting Arnstein v. Porter, 154 F.2d 464, 470 (2d Cir. 1946)). “Without this

contemporaneous transmission to provide live testimony, the jury would be left with less reliable

deposition transcripts and video. Class Plaintiffs’ motion serves the inherent goal of Rule 43,

which is to provide the jury with a more truthful witness.” Pinnacle Hip Implant, 2016 WL

9776572, at *2. Advances in video conferencing technology make remote testimony far superior

to deposition designations in providing cues to make those important reliability and credibility


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determinations (as well as allowing more focused questions related to what the jury has heard from

live witnesses):

       [A]llowing contemporaneous live transmission likely would be substantially less
       expensive, and faster, than use of video depositions when one considers not only
       the time and expense required to take the video depositions, but also the attorney
       time and expense inherent in identifying deposition excerpts, making objections to
       those excerpts, and the time required to make the necessary rulings by the Court on
       those objections, as well as the time and expense of editing by a videographer after
       the Rulings are made.

       ...

       [C]ontemporaneous transmission of live witness testimony will better allow the
       jury to more realistically “see” the live witness along with “his hesitation, his
       doubts, his variations of language, his confidence or precipitancy, his calmness or
       consideration,” without editing or the unavoidable esthetic distance created by a
       video deposition and, thus, more fully and better satisfy the goals of live, in-person
       testimony, while avoiding the short-comings of either written or video deposition
       testimony perhaps recorded weeks or months earlier, prior to whatever
       developments might have occurred between the time the deposition was recorded
       and the time the testimony by video deposition is presented at trial. Furthermore, a
       trial, itself, is a dynamic, ever evolving process and the use of contemporaneous
       transmission of live testimony better allows for the witness and counsel to be
       responsive to the inevitable, unexpected developments and shifts that always occur
       during trial. In so doing, the jury is better and not less served as the witnesses—
       with the employment of Rules 43 and 45—will be able to contemporaneously and
       most relevantly comment on the newest developments in real time and unedited
       watching and judging the witnesses as the trial unfolds—a possibility unavailable
       with previously recorded testimony or earlier more limited technology. Further, use
       of “live” contemporaneous transmission grants the trier of fact—here, the jury—
       the added advantage inherent in observing testimony in open court that is truly
       contemporaneous and part of the whole trial experience, thus, better reflects the
       fluid dynamic of the trial they are experiencing, and, better serves the goal of “truth
       telling.”

In re Actos, 2014 WL 107153, at *7 (quoting Vioxx, 439 F. Supp. 2d at 644); accord In re RFC &

ResCap Liquidating Trust, No. 013CV3451SRNHB, 2020 WL 1280931, at *1-3 (D. Minn. Mar.

13, 2020) (observing that “the speed and clarity of modern videoconferencing technology” allows

this testimony to “satisf[y] the goals of live, in-person testimony and avoids the short-comings of

deposition testimony”) (quoting Vioxx, 439 F. Supp. 2d at 644)); Mullins, 2015 WL 8275744, at




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*2 (“Live video transmission will promote coherency, especially when the alternative is spliced,

edited, and recompiled clips of depositions that took place over multiple days.”).

       Recent hybrid and fully remote trials have confirmed the utility of remote trial testimony

by video. As one article on the experience of Judge Pechman in the Western District of Washington

relayed:

               Maskless within the safe confines of Zoom, all witnesses appeared
               on screen in full speaker-view. In fact, no one wore a mask during
               the proceeding. Bloom found this to be a clear benefit over “hybrid”
               pandemic trials where only jury selection is remote, but the rest of
               trial is conducted in-person in large rooms with all participants
               masked and socially distanced. In this Zoom trial, the witnesses’
               cadence, tone, inflection, demeanor, delivery and facial expression
               were apparent to all. Testimony was dynamic, unlike pre-recorded
               video deposition testimony. Objections and rulings were
               contemporaneous and as functional as in-person trials. In the few
               instances when witness testimony appeared far-fetched or insincere,
               the verdict suggests jurors had no trouble weighing credibility and
               bias. . . . When Judge Pechman debriefed the jurors, she found them
               enthusiastic about their service on a remote civil jury trial. They
               found it easy to follow the testimony because they could clearly see,
               hear and evaluate each witness.

Beth Bloom, Patricia Anderson & Becky Roe, Trial by Zoom: A Closer Look at the Retooled Civil

Jury Trial in the Time of Pandemic, KING CO. BAR BULLETIN (Jan. 1, 2021) (Ex. B); see also

Guardant Health, Inc. v. Found. Med., Inc., No. CV 17-1616-LPS-CJB, 2020 WL 6120186, at *3

(D. Del. Oct. 16, 2020) (noting the Court’s experience with remote “video” bench trials,

determining that “the examinations provided the evidence necessary to assess credibility,” and

concluding that “the jury will be equally (if not better) able to do the same at this trial”). Whatever

might be said about 2020, video testimony has become, in a matter of months, both radically better

in quality and ever-present in quantity. Jurors will likewise be far more comfortable with video

testimony after the necessity of video calls over the past year in every area of life.




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                D.      No true prejudice to Ms. Bresch or Mylan.

        Mylan and Ms. Bresch will not be prejudiced by the requested order. Cf. Vioxx, 439 F.

Supp. 2d at 643 (citing as a factor for consideration “the lack of any true prejudice to the

defendant”). The only real “burden” will be preparing these witnesses for cross examination—just

as they would if the witness were testifying in person—and this does not amount to prejudice.

Pinnacle Hip Implant, 2016 WL 9776572, at *2. Rather it is just the nature of a complex, multi-

party trial. Mylan is a multi-billion-dollar pharmaceutical company who reaped even more billions

from its fraud and antitrust violations; it can more than afford to pay for the preparation of its

witnesses at trial. And as to Ms. Bresch, this “burden” is even less given that she has agreed to

prepare and provide testimony live in Kansas during Mylan’s case. Very little additional burden

will come from also preparing to be called in Class Plaintiffs’ case-in-chief by video

transmission—indeed, it would be less of burden because it would not actually involve travel. 5

        The only inconvenience Mylan set out in their previous opposition to the more general

motion was that these witnesses would have to provide testimony. Mylan does not show that

appearing at a local federal courthouse (or at another agreed upon location) would present any

inconvenience or undue expense to these witnesses. Indeed, the geographic limits set out in Rule

45 were designed for that very purpose: to prevent any undue expense and inconvenience to a

witness arising from giving testimony. Being required to provide testimony in a case in which Ms.

Bresch and Mr. Sanders were key witnesses to the events in question does not amount to

prejudice—it is instead critical to the jury’s fact-finding mission and the path to justice. This factor,


5
  Remote live testimony would not be necessary for Ms. Bresch and she could only testify once if
Mylan either: (1) agreed to bring Ms. Bresch live during Class Plaintiffs’ case-in-chief (Class
Plaintiffs would allow Mylan to ask questions outside the scope of the initial hostile direct to
accomplish this purpose), or (2) allowed Class Plaintiffs to wait to close their case until after Ms.
Bresch is called live in Mylan’s case and allow Class Plaintiffs to go beyond the scope of direct in
their cross of Ms. Bresch.


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too, weighs in favor of allowing remote trial testimony given “the lack of any true prejudice to the

defendant.” Vioxx, 439 F. Supp. 2d at 643.

                E.      Contemporaneous transmission is supported here by “good
                        cause in compelling circumstances and with appropriate
                        safeguards.”

        As is demonstrated by the five-factor compelling circumstance test for MDLs, live

testimony under Rule 43 is justified to ensure Ms. Bresch and Mr. Sanders testify in Class

Plaintiffs’ case-in-chief.

                F.      Defendants Mylan and Ms. Bresch do not dispute that the
                        measures suggested would provide adequate safeguards.

        Adequate safeguards can be provided for contemporaneous remote testimony.

“Appropriate safeguards exist where the opposing party’s ability to conduct cross-examination is

not impaired, the witness testifies under oath in open court, and the witness’s credibility can be

assessed adequately.” Aoki v. Gilbert, No. 211CV02797TLNCKD, 2019 WL 1243719, at *1 (E.D.

Cal. Mar. 18, 2019) (internal quotation omitted). Trial counsel for Class Plaintiffs has successfully

utilized contemporaneous transmission in multiple trials through rigorous protocols, including

several MDLs. 6 Based on those proven experiences, the attached proposed order entered in Ingham

provides demonstrated safeguards and best practices for successfully using contemporaneous

transmission. These orders outline the safeguards anticipated by that MDL court and include:

        1.      Testimony via secure video conferencing in a federal courthouse or alternate
                transmitting location if safeguards and requirements are met.

        2.      The witness will always be visible to the jury while testifying via the witness screen.
                The witness can view the questioning attorney during her testimony via video feed.

        3.      The witness hears all objections unless instructed by the Court.

6
  Ex. A (Actos Supplemental Order/Case Management Order: Protocol for Contemporaneous
Transmission of Live Testimony); Ex. B (Actos Order/Case Management Order: Protocol for
Contemporaneous Transmission of Live Testimony); Ex. C (Ingham Order Granting Leave and
Issuing Protocol for Contemporaneous Transmission).


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        4.      Whenever feasible, documents or evidence will be shown to the witness
                electronically as well as presented by paper copy handed to the witness by the court
                reporter at the Court or counsel’s instruction.

        5.      Other than a court reporter, spectators will not be allowed in the room where the
                witness testifies.

If this Court allows the use of contemporaneous transmission, Class Plaintiffs are hopeful the

parties can reach agreements with Mylan and Ms. Bresch about acceptable protocols. If agreements

are not reached, Class Plaintiffs intend to serve Rule 45 subpoenas on the witnesses who reside

outside Kansas. These subpoenas will command attendance at a location meeting the requirements

of Rule 45(c)(1) (that is, within the state, or within 100 miles, of where each such witness lives or

works), and the live testimony will be transmitted from that location to the courtroom in Kansas

City, Kansas during trial. 7

        II.     There is good cause to permit trial depositions of six critical witnesses:
                Bresch, Sanders, Robert Coury, Bruce Foster, Ron Graybill, and Jill
                Ondos.

        Class Plaintiffs also seek leave to take trial depositions (also known as de bene esse

depositions) of four additional critical witnesses: Robert Coury, Bruce Foster, Ron Graybill, and

Jill Ondos. 8 And, if this Court denies Rule 43 testimony for Ms. Bresch or Mr. Sanders, Class



7
        A witness so subpoenaed would still have a right to file a motion to quash the subpoena;
such a motion is filed in the so-called “compliance court” - the district where compliance is
commanded. See Fed. R. Civ. P. 45(d)(3). But such motions may, in appropriate circumstances,
be transferred to this Court. See Fed. R. Civ. P. 45(f). As the Advisory Committee Notes explain,
“transfer may be warranted in order to avoid disrupting the issuing court’s management of the
underlying litigation, as when that court has already ruled on issues presented by the motion.” Fed.
R. Civ. P. 45, 2013 advisory committee notes. A subpoena issued to compel testimony already
ordered by this Court would fall into this category. The advisory committee notes also state that
consultation between the judge presiding over the case in the issuing court and the judge in the
compliance district may be helpful. Id.
8
        Class Plaintiffs seek leave out of an abundance of caution. It is not clear that trial
depositions are subject to the limitations in Rule 30(a)(2)(A) on number of depositions per side
and second depositions. Other federal district courts have concluded that trial depositions do not
fall within the discovery deposition limits. Rayco Mfg., Inc. v. Deutz Corp., No. 5:08 CV 00074,

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Plaintiffs seek trial deposition as an alternative means of securing their trial testimony. See RLS

Assocs., LLC v. United Bank of Kuwait PLC, No. 01 CIV. 1290 (CSH), 2005 WL 578917, at *7

(S.D.N.Y. Mar. 11, 2005), adhered to on reconsideration, 464 F. Supp. 2d 206 (S.D.N.Y. 2006)

(stating that “it is clear that Rules 43(a) and 32(a) are meant to compliment each other; and

depending on the nature of the case and the circumstances involved, one procedure may be

preferred over another”). This Court recognized in the Pretrial Order that trial depositions can be

used to present testimony to the jury. Dkt. No. 2169, Pretrial Order 60 (“The parties’ final witness

lists shall specify which witnesses will be called live, called by live video feed, called via trial

video deposition, or called by video or discovery deposition.”). Each of these witnesses are critical

fact witnesses to Class Plaintiffs’ case and trial depositions can provide more targeted, relevant

testimony than the discovery depositions coordinated with Sanofi.

       Trial depositions of these four additional witnesses will ensure the jury has the most useful

and relevant testimony from these witnesses during Class Plaintiffs’ case-in-chief, all outside the

subpoena power of the Court. Trial depositions are particularly useful in situations “when a witness

is simply outside the subpoena power of the court and cannot be compelled to testify at trial.”

E.E.O.C. v. Beauty Enterprises, Inc., No. CIV. 3:01CV378 AHN, 2008 WL 3892203, at *2 (D.

Conn. July 9, 2008) (citing Manley v. Ambase, Inc., 337 F.3d 237, 247–48 (2d Cir. 2003)). When

witnesses are unavailable (including due to distance)—a “simple fact, known to all trial

practitioners”—“de bene esse depositions taken shortly before trial are commonplace and are




2010 WL 183866, at *3 (N.D. Ohio Jan. 14, 2010) (noting that trial depositions “are not treated as
part of the discovery process to which the Rule 30(a)(2)(A)(i) ten-per-side deposition limit
applies”). In the one District of Kansas case, leave was sought and provided for a trial deposition
if done at the requesting party’s expense. Clay v. Bd. of Trustees of Neosho Cty. Cmty. Coll., No.
CIV.A. 94-2282-EEO, 1995 WL 646817, at *2 (D. Kan. Sept. 26, 1995).




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properly understood as part of the trial proceedings, not discovery.” Benedict v. United States, No.

15-CV-10138, 2016 WL 6138599, at *2 (E.D. Mich. Oct. 21, 2016) (internal quotation omitted).

        These trial depositions are not for discovery purposes but rather as a means of introducing

trial testimony. Class Plaintiffs are “entitled to present [their] witnesses” at trial. Charles v. Wade,

665 F.2d 661, 664 (5th Cir. 1982). Trial depositions are “not seeking to discover [the deponents’]

testimony-[the requesting party] knew what [the deponents] had to say-but was seeking a means

for introducing [the deponents’] testimony at trial. . . . The fact that the discovery period had closed

had no bearing on [the requesting party’s] need, or his right, to have the jury hear [the deponents’]

testimony.” Id. (holding that the district court clearly erred in denying appellant’s motion for a trial

deposition of a witness outside the subpoena power of the court). For critical witnesses who are

unavailable for live, in-person testimony, trial depositions “ensure that the parties are able to

present a full case” and “the fact-finder is reaching its decision on all relevant evidence.” Benedict,

2016 WL 6138599, at *2.

        The four additional witnesses for whom Class Plaintiffs seek trial depositions have critical

testimony related to the claims at issue:

               Robert Coury: Mr. Coury was Mylan’s CEO before Ms. Bresch and became chair
                of the board. He, along with Ms. Bresch, directly approved the language in the
                exclusive 2-Pak press release. MSJ Opp. 27, 98. With respect to competitors like
                Auvi-Q, Mr. Coury instructed the contracting team while he was CEO to “pre-empt
                any new market entry” and “block competition.” Id. at 32. Mr. Coury is now
                executive chairperson of Viatris, which absorbed Mylan.

               Bruce Foster: Mr. Foster was Mylan’s Senior Director, National Accounts during
                the time in question. Mr. Foster was central to at least two of the RICO schemes:
                (1) the elimination of the single EpiPen, and (2) using Mylan’s market power to
                eliminate branded competition from Auvi-Q. On Nov. 24, 2010, Mr. Foster emailed
                Mylan executive Ron Graybill, proposing, for the first time, Mylan eliminate the
                single EpiPen for two reasons: (1) “[d]ouble the revenue” and (2) “[s]trong
                potential generic defense.” He mentioned no medical guidelines or patient safety.
                MSJ Opp. 20. Mr. Foster then worked on Project X2 to implement the plan.
                Mylan’s head of regulatory affairs emailed Mr. Foster and others and told them
                that, “we don’t need to call/write FDA” because it “will raise more questions than
                we have answers.” Id. at 26. Mr. Foster suggested to the sales team that the

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               elimination of the single EpiPen be “packaged” within a bigger program to
               camouflage the fraud. Id. at 26. Because of Mr. Foster’s proposal—and the tens of
               millions that this maneuver delivered in inflated sales revenue and volume to Mylan
               and Pfizer—Mr. Foster was named Mylan’s President’s Circle Winner for 2011.
               Id. at 29.

              Ron Graybill, Jr.: Mr. Graybill was the Vice President, Managed Markets at Mylan
               during the time in question. Mr. Graybill was involved in multiple schemes and
               supervised many of its primary participants. When Mr. Foster proposed the
               elimination of the single EpiPen, he took that proposal to Mr. Graybill who deemed
               it a great idea because it could “double” sales. MSJ Opp. 20. Mr. Graybill was part
               of the Project X2 team. He was also part of sending out training materials to sales
               representatives that deceptively and falsely listed the NIAID and WAO Guidelines
               as the “medical rationale” for the hard switch, and he encouraged employees to only
               raise this medical justification at the end of calls. Id. at 20, 27. Mylan’s head of
               regulatory affairs emailed Mr. Graybill and others and told them that, “we don’t
               need to call/write FDA” because it “will raise more questions than we have
               answers.” Id. at 26. Mr. Graybill also completed the employment reviews for Mr.
               Foster that acknowledged Project X2 was Mr. Foster’s idea and applauded the
               increase in sales of tens of millions of dollars every year due to the elimination of
               the single pack EpiPen in the United States market only. Id. at 29. Mr. Graybill was
               also part of the effort to implement a rebate scheme to push out Auvi-Q competition
               by seeking prior authorization and benefit exclusion. Id. at 32.

              Jill Ondos: Ms. Ondos was a Mylan Deputy General Counsel during the time in
               question. Ms. Ondos was Mylan’s primary lawyer in charge of both the EpiPen and
               Nuvigil litigations. MSJ. Opp. 123 n. 737. She was involved with the negotiations
               of both the EpiPen and Nuvigil settlements with Teva including receiving proposals
               from Teva on the swap of dates. Id. at 42. Ms. Ondos actively participated in the
               EpiPen settlement negotiations and litigation. Id. at 42-43, 69. And she provided
               input on the EpiPen settlement press release. Id. at 43.

Defendants have not agreed to provide any of these witnesses to testify during Class Plaintiffs’

case-in-chief. And, given the current witness lists, it is possible that the jury may not hear any live

testimony from several of these witnesses even in Defendants’ case: Robert Coury (not on

Defendants’ witness lists), Ron Graybill (not on Defendants’ witness lists), and Jill Ondos (listed

by Defendants as may testify either by deposition or live). For all witnesses, Defendants have also

noted they reserve their rights to take people off the list or change the manner of testimony. Dkt.

No. 2354, Mylan Defendants’ Final Witness List (“Mylan reserves all rights to amend or modify

this list before trial and as trial preparations continue, including, but not limited to, by withdrawing



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or adding witnesses or designated testimony, changing the manner of testimony, or revising

Mylan’s current Expects/May call designations.”).

       Trial depositions will also allow Class Plaintiffs to provide more streamlined deposition

testimony focused on the issues being presented at trial. Discovery depositions in the case were

often joint depositions with the Sanofi case. Additionally, since discovery depositions were taken,

additional documents were produced and the case theory has developed as shown in the summary

judgment motion and pretrial submissions. Trial depositions will provide the jury with shorter and

more useful evidence on the claims before them:

       Lawyers use depositions during the discovery phase primarily to discover evidence.
       However, lawyers do not always know during the discovery phase which witnesses
       will actually be needed for trial, and whether the testimony of some of these
       witnesses will need to be presented at trial by means of depositions. Once those
       decisions are made by attorneys, courts cannot ignore a party’s need
       to preserve testimony for trial, as opposed to the need to discover evidence, simply
       because the period for discovery has expired.

Estenfelder v. Gates Corp., 199 F.R.D. 351, 355 (D. Colo. 2001). Because these trial depositions

are about ensuring trial testimony (and not the discovery of evidence), Class Plaintiffs should be

allowed leave (if indeed leave is necessary) for trial depositions of these limited witnesses.

                                         CONCLUSION

       For these reasons, Class Plaintiffs request that the Court grant their motion to allow: (1)

live trial testimony via contemporaneous transmission from locations outside Kansas for Heather

Bresch and Lloyd Sanders, (2) trial depositions of Robert Coury, Bruce Foster, Ron Graybill, and

Jill Ondos. If the Court denies live trial testimony via contemporaneous transmission for Ms.

Bresch or Mr. Sanders, Class Plaintiffs alternatively request trial depositions of those witnesses.

Finally, given the necessary arrangements for both types of testimony and impending trial

deadlines, Class Plaintiffs request expedited briefing on this matter. Class Plaintiffs also seek all

other relief to which they may be entitled.



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DATED: June 18, 2021              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of this CLASS PLAINTIFFS’ MOTION TO

ALLOW LIVE TRIAL TESTIMONY VIA CONTEMPORANEOUS TRANSMISSION FOR

HEATHER BRESCH AND LLOYD SANDERS, AND FOR TRIAL DEPOSITIONS OF

ROBERT COURY, BRUCE FOSTER, RON GRAYBILL, AND JILL ONDOS, AND REQUEST

FOR EXPEDITED BRIEFING was served on the 18th day of June, 2021, by filing the document

electronically with the Court, which delivered a copy to all counsel of record.



                                                    /s/ Rex A. Sharp
                                                    Rex A. Sharp
